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EXHIBIT B
(3 of 3)

 
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MSR Consumer Report 2010

 

 

9.6 Premium Buyers

 

Profile - Premium Buyers

0% 50% 100% 150%

Own1MSR |aaammmmate9, 37%
a Own 2+MSRS iy 65
Range member |’ 99,
Non-member Range _ —z at”
Infrequentuer == 41%
4-11 times lemme '2 3,"
12-23 times |i 4426,
Avid user iia! 2%o.
Miitay/i —— 49%, mi All MSR
No Min oe S69 Owners
Age- Under 35 |iien!°249,
Age- 35-44 |iammmmia 22%,
ee Ot TER”
Income - up to $75K |r 3805” lm Premium
Income -$>$75K —_iiiiallP”s 69, MSR
Education - Bachelors+ —_ie 44%, Buyer
Education - Less than Bach. ee (>$1,500)
Children in home {=m 437
- No children in home_ ——E 24,
TagetshootV. [=== £4

Competition shoot flila?%3y

Hunt using MSR jm 33%
Use MSR for work/law [itis
Not used MSR last 12 mths" ba Sep

Recent buyer |[=—miei6% 429,
Premium MSR buyer (>$1,500) ee 100%

Heavily accessorised MSR

High spend accessories Saini 58%
Very likely to buy MSR ets 4 70, n=7,372
Planto buy accessories [i769

 

 

 

 

 

 

Premium buyers are relatively more likely to be:
e Arange member
© Own multiple MSRs
e Avid users
e High spenders on accessories
© Very likely to buy in next 12 months.

Please note: some of the percentages for each sub-group will not add to 100% due to non-responses

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9.7. Owners of Heavily Accessorized MSRs

 

 

Profile - Heavily Accessorized MSR Owners
0% 50% 100% 150%

Own1 MSR | 032726
Own 2+ MSRs |i “5, 9
Range member
Non-member Range _
Infrequent user
4-11 times
12-23 times
- Avid user
Military / L.E.
Non-Military
Age - Under 35
Age - 35-44
Age - 45+
Income - up to $75K
Income - $>S75K
Education - Bachelors +
Education - Less than Bach. _
Children in home
No children in home
Target shoot MSR
Competition shoot
Hunt using MSR
Use MSR for work/law
Not used MSR last 12 mths
Recent buyer
Premium MSR buyer (>$1500)
Heavily accessorised MSR [2 5 100%

High spend accessories |meZdtemmmn 6294
Very likely to buy MSR jie ?"S 79, n=7,372

Plantobuyacesoi’ ie “79,

 

 

 

 

 

 

M All MSR
Owners

 

 

 

 

 

Heavily
Accessorised
MSR

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Owners of heavily accessorized MSRs are relatively more likely to be:
e Arange member

Own multiple MSRs

Avid users

Use MSR for work

Premium MSR buyer

Very likely to buy MSR in the next 12 months.

Please note: some of the percentages for each sub-group will not add to 100% duc to non-responses

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MSR Consumer Report 2010

9.8 Likely MSR Buyers

 

Profile - Likely MSR Buyers

0% 20% 40% 60% 80% 100% 120%

Own 1 MSR
Own 2+ MSRs |
Range member
Non-member Range
Infrequent user
4-11 times
12-23 times
7 = _Avid user iil? %os,
Mia /. —h 437%,
No-Miititia a 26% lm All MSR
Age- Under 35 [iba 29%, Owners
Age- 35-44 |i 22%,
Age- 45+ at 232%
Income-upto$75K = 437°
7 Income -$>$75K =e’ 2%,

Education - Bachelors+ |=’ 452
Education - Less than Bach. |e 24%, @ Very likely
_ Children in home =i? 4%5, to buy MSR
No children in home ( in next 12
Target shoot MSR | months
Competition shoot
Hunt using MSR
Use MSR for work/law
Not used MSR last 12 mths
Recent buyer
Premium MSR buyer (>$1500)
Heavily accessorised MSR
High spend accessories

Very likely to buy MSR 100% 8
Plan to buy accessories _ |=? “15 ne’

Likely MSR buyers are relatively more inclined to be:
e Arange member

Own multiple MSRs

Avid users

Age under 45

Income >$75K

Children at home

Recent buyer and high accessory spender

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Please note: some of the percentages for each sub-group will not add to 100% due to non-responses

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9.9 Likely Accessory Buyers

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Own i MSR
Own 2+ MSRs
Range member

Infrequent user
4-11 times
12-23 times
__Avid user
Military / L.E.
Non-Military

Profile - Likely Accessory Buyers
0%

20% 40% 60% 80%

L L 1 L L L

100%. 120%

j

 

Non-member Range _

 

im All MSR

 

Age - Under 35
Age - 35-44
Age - 45+

Owners

 

Income - up to S75K
Income - $>$75K
Education - Bachelors +

 

Children in home

No children in home
Competition shoot
Hunt using MSR

Use MSR for work/law
Not used MSR last 12 mths
Recent buyer

Premium MSR buyer (>$1500)
Heavily accessorised MSR
High spend accessories

Very likely to buy MSR

Plan to buy accessories

 

Education - Less than Bach. —

ll Plan to buy
accessories

 

Target shoot MSR >

EE
la 496

next 12
months

 

me 2936,
jam 139%,

 

Es
—al 37%
=a 22%

 

n=7,372
100%

 

 

e The profile of likely accessory buyers is very similar to the overall profile of MSR owners
indicating the high potential across all sub-groups.

Please note: some of the percentages for each sub-group will not add to 100% due to non-responses

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_ MSR Consu mer Report 2010

 

9.10 Military vs Non-Military

 

 

 

Profile - Military / L.E. vs Non-Military

0% 20% 40% 60% 80% 100% 120%

4 i L i i 4 j

Own 1 MSR {ate 2% og
Own 2+ MSRs |; 50%
Range member =i, 2%
Non-member Range (=a S67,
Infrequentuser tie“ 2°%y,
4-11tines [= 333
12-23 times |ammmm 28%
Avid user |i 134%
Military /L.E. |"6% :
Non-Military |p 100% Military
Age - Under 35 /LE.
Age - 35-44
Age - 45+ 51%
Income - up to $75K° anneal 438
rone-S7*K i” 4926 mT
" Education- Bachelors+ ln 9, Military
Education - Less than Bach. [oo 5 7h
Children in home | Fy,
No children in home en.
—_ Target shoot MSR [iii S%o,
Competition shoot ka se
Hunt using MSR —— 33
Use MSR for work/law beet 596" 17%
Not used MSR last 12 mths bal 43%
Recent buyer |= 322
Premium MSR buyer (>$1500)
Heavily accessorised MSR
High spend accessories
Very likely to buy MSR
Plan to buy accessories

 

 

 

 

 

65%

 

 

 

 

 

 

 

 

 

 

 

 

 

MSR owners with a military background are relatively more likely to be:
® Range members
e Age 45+
e Higher income
e Slightly less well educated
e Multiple MSR owner

Please note: some of the percentages for each sub-group will not add to 100% due to non-responses

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9.11 Favorite MSR related Magazine’s in alphabetical order

Favorite Magazine

American Hunter

 

American Rifleman
Gun Digest

Guns

Guns and Ammo

 

 

 

 

Handloader
Rifle Shooter
Shooting Illustrated

 

 

 

Shooting Times
Shotgun News

 

 

Small Arms Review
SWAT
Tactical Weapons

 

 

 

 

 

9.12 Favorite MSR related Website/Blog(s) in alphabetical order

Favorite Website/Blog

450Bushmaster.net
AR15.com
arl5armory.com

 

 

 

Argunsandhunting.com

 

Brownells.com

 

calguns.net

 

dpmsince.com

 

gunblast.com

 

GunBroker.com

 

GunDigest.com

 

GunsandAmmo.com

 

m4carbine.net

 

 

 

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10 CLUSTER ANALYSIS/MARKET SEGMENTATION

Explanation of Cluster Analysis/Market Segmentation Analysis

A Cluster Analysis or Market Segmentation is a concept that was developed to help marketers
identify specific consumer groups based on a specific set and sub-set of demographic and specific
product usage patterns. Market segmentation means dividing the market into distinct groups of
individual segments or clusters with similar wants or needs and behaviors. A market segment or
cluster is a sub-set of a people. In this case it is MSR owners with one or more characteristics that
cause them to demand similar product and/or services based on qualities of those products: such as,
usage, activity and demographics. A true market segment meets all of the following criteria: it is
distinct from other segments (different segments have different needs), it is homogeneous within

the segment (exhibits common needs), and it responds similarly to a market stimulus and media.

Using a cluster analysis technique and the following variables:
e Age
e Reasons for owning
e What is your estimated yearly household income?
© How many MSRs do you own?
e Law Enforcement or Military

We established 5 clusters:

 

  
  

1. Young and
aieaene 5. Non-Avid MSR Clusters
2. MSR Work and Play Veterans . naan ane
. nfrequen
3. The Great Outdoors im peas 28%
4. Avid Veterans
5. Non-Avid Veterans 4, Avid

Veterans a
10% 3, The Great 2. MSR Work

Outdoors and Play
23% sy

 

 

 

 

 

How to Read the Cluster Charts

In all of the cluster charts the sample profile is 0. An index of +20 means the cluster is 20% more
likely to exhibit that behavior. So for example Cluster 1 is 21% more likely to own a single MSR
and 15 less likely to own multiple MSRs.

 

n= 7,372

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10.1 Cluster 1 - Young and Infrequent

 

1. Young and Infrequent

Index - All MSR Owners = 0

-100 -50 0 50 100
Own 1 MSR
Own 2+ MSRs
Range member
Non-member Range
Infrequent user
4-11 times
12-23 times
Avid user

Military /LE. -88
Non-Military
Age- Under 35
Age - 35-44
Age- 45+
Income - up to S75K
Income - $>S75K
Education - Bachelors or higher
Education - Less than Bach.
Children in home
Na children in home
Target shoot MSR
Competition shoot
Hunt using M5R
Use MSR for work/law enforcement
Haven't used MSR last 12 months
Recent buyer
Premium MSR buyer (>$1500)
Heavily accessorised MSR
High spend accessories
Very likely to buy MSR in next 12 months
Plan to buy accessories next 12 months

 

 

 

Cluster 1 — Young and Infrequent make up 28% of MSR owners. They tend to be:

 

e Non-military

 

 

 

 

 

 

 

e Age under 35 Reasons for Buying MSR
e Well educated 0 2 10
e Non-hunters . | 4 l.
. Recreational Target... 9.38
e Less likely to buy an mA MSR
MSR in the next 12 Home defense 22° Owners
months
Collecti 6.26
© Less likely to hunt or ollecting ——.
compete. Varmint Hunting Te wa Young
Competition shooting... — ae and
Infrequent
Big Game Hunting ee ft
Professional Use / Job.., lem 325 pe n=7,372

 

 

 

 

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MSR Consumer Report 2010

10.2 Cluster 2— MSR Work and Play

 

2. MSR Work and Play

Index - All MSR owners = 0
-100 0 100 200 300 400

1 1 \ j

 

Own 1 MSR

Own 2+ MSRs
Range member
Non-member Range
Infrequent user
4-11 times

12-23 times

Avid user

Military / LE.
Non-Military -68 [>]

Age- Under 35

Age - 35-44
Age-45+

Income - up to S75K
Income - S=575K
Education - Bachelors or higher
Education - Less than Bach.
Children In home
No children In home
Target shoot MSR
Competition shoot
Hunt using MSR

 

Use MSR for work/law enforcement 298
Haven't used MSR last 12 months -69 |
Recent buyer d" 10
Premium MSR buyer (>$1500) a! 36
Heavily accessorised MSR ee 30
High spend accessories lz 57
Very likely to buy MSR in next 12 months = 33
Plan to buy accessories next 12 months | 4 n=7,372

 

 

 

Cluster 2 — MSR Work and Play make up 18% of MSR owners. They tend to be:
e Avid, multiple

 

 

Kieeaunere Reasons for Buying MSR
0 5 10
e Military !
background Recreational Target... oa)

 

 

© Age under 35

75M All MSR
competition Home defense | aad" All MSR
shooters Collecting ——
e Go huntin
. Varmint Hunting ——
e Use MSR for @ 2. MSR Work
work. Competition shooting... | 5.96 and Play
Big Game Hunting —— rr
Professional Use / Job... ee age E7372

 

 

 

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MSR Consumer Report 2010

 

10.3 Cluster 3 —The Great Outdoors

 

Own 1 MSR
Own 2+ MSRs
Range member
Non-member Range
Infrequent user
4-11 times
12-23 times
Avid user
Military / L.E.
Non-Military
Age- Under 35
Age - 35-44
Age -45+
Income - up to S75K
Income - 5>575K
Education - Bachelors or higher
Education - Less than Bach.
Children in home
No children in home
Target shoot MSR
Competition shoot
Hunt using MSR
Use MSR for work/law enforcement
Haven't used MSR last 12 months
Recent buyer
Premium MSR buyer (>$1500)
Heavily accessorised MSR
High spend accessories
Very likely to buy MSR in next 12 months
Plan to buy accessories next 12 months

 

-80 -60 -40 -20 0 20 40 60 80

3. The Great Outdoors

Index - All MSR Owners = 0

 

«28 n= 7,372

 

 

The Great Outdoors
accounts for 23% of MSR
owners. They tend to be:

e Age under 45

e Lower income

® Likely to buy

MSR
e Less well
educated
e Hunters.

 

Competition shooting... el 2: Outdoors
Professional Use / Job... m2” in 7802

0 5 10

Recreational Target... jp zen 9.45

a. “AIMS

Owners

 

 

Home defense
Collecting

Varmint Hunting

 

8.41
@ 3. The Great

 

 

 

 

 

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10.4 Cluster 4 — Avid Veterans

 

4. Avid Veterans
Index - All MSR Owners = 0

-100 -50 0 50 100
Own 1 MSR
Own 2+ MSRs
Range member
Non-member Range
Infrequent user
4-11 times
12-23 times
Avid user
Military / LE.
Non-Military
Age - Under 35
Age- 35-44
Age - 45+
Income - up to $75K
Income - S>S75K
Education - Bachelors or higher
Education - Less than Bach.
Children in home
No children In home
Target shoot MSR
Competition shoot
Hunt using MSR
Use MSR for work/law enforcement
Haven't used MSR last 12 months
Recent buyer
Premium MSR buyer (>51500)
Heavily accessorised MSR
High spend accessories
Very likely to buy MSR in next 12 months -
Plan te buy accessories next 12 months 3 n= 7,372

 

 

 

 

Avid Veterans account
for 16% of all MSR Reasons for Buying MSR

owners. They tend to 0 5 10

be: | i
8.93
a Ageaveras Recreational Taree... Ty:
© Well educated Home defense ne 775 MAI MSR
e Collectors vr Owners
© Hunters collecting |, 25,
Varmint Hunting — we
4. Avid
Competition shooti<.. Ta Va Veterans
Big Game Hunting SS
Professional Use / Job... n° n= 7,372

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10.5 Cluster 5 — Non-Avid Veterans

 

 

Non-member Range

Income - up to $75K

Education - Bachelors or higher
Education - Less than Bach.

No children in home

Use MSR for work/law enforcement
Haven't used MSR last 12 months

Premium MSR buyer (>$1500)

Heavily accessorised MSR

High spend accessories

Very likely to buy MSR in next 12 months
Plan to buy accessories next 12 months

5. Non-Avid Veterans
Index - All MSR Owners =0
0 50

-150 -100 -50

l
Own 1 MSR
Own 2+ MS5Rs
Range member

Infrequent user
4-11 times
12-23 times
Avid user
Military / L.E.
Non-Military
Age- Under 35
Age- 35-44
Age-45+

Income - S>S75K

Children in home
Target shoot MSR

Competition shoot
Hunt using MSR

Recent buyer

 

100 150

n= 7,372

 

Non-Avid Veterans
account for 18% of all
MSR owners. They tend
to be:
e Non users
e Single MSR
® Less likely to
buy MSR and
accessories
e Age 45+
e Nochildren at
home
e Lower income

© 2010 NSSF

 

Reasons for Buying MSR
0

Recreational Target...
Home defense
Collecting
Varmint Hunting
Competition shooting...

Big Game Hunting 2.78

Ss

5 10

8,93

mm All MSR
Owners

LAS
7

5. Non-Avid
Veterans

 

Professional Use / Job

 

2.45
ret 1.31

n=7,372

 

 

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11 CROSS-TABULATIONS

The following data is provided to allow reader to perform additional detailed and specific analysis.

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Case 1

 

   
     

 

 

 

 

 

   

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

     

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

        

 

 

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

      

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

     

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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e5 nF ‘vate 05 HOS. HES ab ES OT seis ROE Ea eT. 204
WES aor, Teer bes rete S6rE SRE EEIE $aLE sree [sat fs GEL
aU +IOT'DITS. ocoTTS pag ses jopun “og ra Pan Mea |opeajoe-uoy Popeojoy, ial +E id it eaa2
eatoo'sés  |ovtog'sks ar ogn'sks AJeU IAL aR [wer
aU AGE IIIA 40 urausaaa At Ey uy PROS diquaquisgy allie Wane SUSI
FaTue Supooys yeaa) ee dysaquisw & axcy Auaaina noA OD FED
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esl sete ee Hae MOOT HE Sep | tee ser Hob oak sive SF ea hl
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HH Sd Pe ON eu Say OS ACAD Por a GON
auP andeas (ew uoyesnpy AUEa ||| 10 TuaauOgug we] SOUT PEDO SYTHE ASIA PAE SUPA yy Syuaquiayy sour
[uO Io any) IY f ueEOug AT Sz
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365 6 Se sa 8h 8. 8. 256 el 4S HE. 08, 5, Sh 6s Sit MEL 4S Ao at [wa sodas: ts 56 365 ye 5 Ea er
ie, 8 SOT WS. Yat 2) aL Be at re SE. sib ser. cs set [aa ‘ 8. tee [vk bie eee Fel Ea al al 81 iS ALAEADI
SU a MST oA a8 et ah bh HOT ET a a set a eee [set it BE [sa NE [wet att sO Sa ac wel SO jaa)
MIT wrt KEL CT TT pais 31 MDT a eet sat [9st NG WEL sest_— [Sant tt wet [ss TPC SET xT att [ect SDL et aa Apu
BT HAT Bet MAT Hat sat eT oT ST sagt [sist HSL HET set [ast 657 [ez [ser sot | ast oT MST set sist MET oT. saLexedrpy
SST AT St ST ‘Hat Mat Met wat Sat bt | SeT Hert Sb 3g07 | 95T ‘MOT wet [sat nist [vst I Soe eet wat MHL sot saucy D945)
Bebe Et eet HEE save sabe Maz Sake Se, wat [pat tet St sie [sce abT Hz sett see sez | wat tert. Mer sake | see 5657. ET Puaid)
Natit SEE. Hat Ba Eira Ets MLE ait ae SEE |S0E SST Har ste |= MES eet Mor ete [att soz | st SE. Hee see (wae wae aor ‘ACH
ate HIS. Sesh vei be Ey aed Suet HES ar [pb sib eae tixs_ [sss Hae. seo Sat Hab [sae seb | Wek eb oe sae | Gh Or See aaqu) (pupsied UMD
LEE BE. Gres EGE, SIDE EEL. es East Seat gest [oGer este £5eE eRe Bete ess [aset [esst_ | ese Jorge BILE test |avat BEST ESE
uc palo fpamy — eanjeyzeg wally papun eso eS psec [FRE (SE a7 Psy fies Popeopu-uoy [recor feet fezeet feta fem aquary — ioquoy [+e é t (ocr
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HzT BAL aT eT ST MET HET MEL by RT KE. 55 45. wait sive [sant MTL 4a
Es to SS. 0) 465 $5 315 608 mes Na En a KES Sl
360 wae pied ate Oe moe ee is Baie Ge wee sist [war HOE we
Sie IS see Sach i HOR ee es wae WE sail eo [ee ie oe
Hie MER et bel ER seek SEE Sere Hee Ea itt ase [es S98 See
or FOG. So. 316 AR He 426. HG SB Teh 606
E Fees. rL8E T20E, 58ST. {Sat est,
Faery soRmyseY pasy si: HOO'STES = fSSOOTTS a As Sea
upuaayaan furuaupey fey ey se] pes.saiuaon aa those mL ACTH bond
cuap ER ees JERE uoRtInpZ SUSUL AQ UIN 4D uauauopug My LOUK Poop
snoyaad wano uo esripund nah ppl Dupo] o) Ose fo YI ED
HEE Eis eT be oC st [est eae S6ET. iz |scez FAV eee se5t Bl MBL
Ot eT RT S601 HOT 359) Em watt KE ET SOL Bet st [wot a 36
al aE, EAT MEL ist woz [abt ab HET OT eC aT Gt 6ST 5 set
a iS iS sr eo a aS a ua 6 eS a va sa he BS
Sil ee i BT Si mot 9 [ae Sal ei |e ve ai, Ba al Se
faa ET ST ST SES sete 9st RET REL HEL Next [wart 3ST vot [eae eT HST
aT HST 6T aT. tt wer [gat sat se HET Not [wat soe | eet HBL MeL Sat. aT Eira SBT
Eas HET faa eI Nas spt laser wat text ‘vai hi [va sapt_| seat. MET sett ut ut et et
wELy, ZEDE cast fied gest [awet [arte oot Bé3E Sete ssa [esor  [esat | tsae TSE Te. Teer [aor o0ez PSEE
uc eae scayEeg ro0OrTS: rock frbese [ST ; Hs fies: poncomydey fiopecoy ert feteT Eta [ata aquayy — fuocwoyy fee e L jae
WP oN fu) eezay fon aeuy se] a $0405) opr | eq uot [ jason Peon
qumPI SNEIS |a)/EAL uoneanpa aly ANGI WA 10 yuu sao Uy ee] eeu PESO BYMSOW TT SE] MSI PAEN SaMUA A gymequiany SducL Mn 5 SSA A
Etsy Soy) ant Ujesge J aseyaund NOs pip waa Seb
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Case 1:13-cv-00291-WMS Document 23-5 Filed 04/15/13 Page 16 of 27

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

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ueya 507 aa too'ses Jou too'ses fav ooa'ss aun |) cH aM fic sowie
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Huds Sie]]0p JO SWAY Uy YSyy JUROR ISOW INOA cy OP HOA pip UOpEAWIOUSNS pmsCU Joye LOA OH ETE
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Case 1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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se aT ET. BST [aia MeL wa HoT, 3abT aT sat [oer sea SET. sat 9ST asc [at art MST sat (set Het aT, dogs samo +92 9
MOT vat ST LT HEL et IIT See met oni set [361 ET si ete WaT set [wet oT BL sot sat ST ERE adoas somod xb T=
abe MLE ci HE i OE Sirk. HE fae Mee eo set |9s6e wee [ete Sec soe soe (sae ete WEE ano26 SOMO0 NE E
02 Bee uaz HEE sot ee Se see laste mez sce sebe [eee sec [wot Set sive, sae [sete HEE. te GOs JaNAE Aer - T
THEE Ta aot 195 tae. Et sot. ase fees Sav ASCE bos |a9s és6___ [S05 RET ta ate us SiG [aeae
PaweN  (paDoyse” diy papun [go be hs Pay Asean ere X pacuiayy = fequayy Ht ie He jes,
eed S07 pe siaauacy fe ooa's es / Aeuie WOR USN
as EN vopeanpy AIF JO AUS OLTG ATTY 2oUEny propa SU toad FE SSE] Suh FOR SRLS dyysequiapy atuey ur SMS fh

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Case 1

 

       

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

     

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

     

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Batt HST aT Hest ST aT el Se wit BL or [seer ¥aT FAT MET BaL Jct ers ST eet HET HET MST Ang ob ueyd 1 und 3c)
wat Salt sat No at HL ST 365T aT Sea sete [sere wat eT Ka eT fc [zz ated ett [wat ‘MIE Mal “su TT au We fing 6 Leal
289 cl ei 59 ctl 89 Te Be eB Sao Hao HES Bae fst [wae oite Hl ea Hoo AS tasted AION]
pices esa EERE rs0s pose Cane, OST SSR FRUIT gies Lene, S69E Ti6r 3z5_ [dont SESE wee [ast ase Too
reac uc power fren fr vnopeR angie erooorts  joow'orss neo'ses haa frauen Leacqoy-sow fiopeajs — fewe feet aqua acy [+E e rc IL
Weuap oy Joyous jon eu sort as ina cues) yore van
dump SEIS [A eoqicanpa AMUN ID quaUIaAIOGUA AA] eoualry PEOIS SSH EE HTT ISIN POS SL Uf dyaquiayy) aur MDS HSTAL
adoog ayy PANO ATED
35 hia 41S EE SE ft MGT. TE. ite Hoe site| saee Sor STE ast [HEE fit ese Hae sot [war ee [wee KT 366 ae Ed KEP see Ang of unit 16 iene 3, uot)
wa wat wet LT st OT Eis SET 45T 6s sat [sare a wat tr [sat HL Hz 3697. HbT S907 ser [wat Het Mat met [sat [sete Hee "sual ZT Wau UW) Ang 69 Ue
305 05 4TS 05 HTS Er *55 eS eo Ste sts [sts HES C5 sr [sine ES See 608. sa [sas ser |e He 355 0905 or TS sag Asda)
EEE ras¥ IESE red Teer: best ORT get eae [aust S831 tint [seet__ [see bIBE yLSE 6f3E, O65 [S56 stat [oan fate tere, Eorr [test Este og
away paw sc ayaeg Louitiy Htoo'otts oap’orts = [ooa'ses Hapun [ese rises [esc fitece [SE ra Tf Meai Pepcopy-uon Paaecy [eer feet [Tk fee pany faq [ee z ic esa,
ap umupyYzON fe SadpE Ake were 807 PEST) aa teerses oa Too'ses fo CO's es popurt [fea won eS E PUON
LuauRH IGE ams [HA uOREINEY UE any: AEILGAL 20) guaeLraO OL NET {Puy PeOjoY SUUDGH ET 152] USWA POST SU Aye asyey aeEaN ur 5,151 I
pada erro
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Pause: ue query faajuepy us egos fosce = [epese = [Se a aT f Meg Papeayay-Lon per [rE F [ teva,
uj uassquazan: fal uapew bes aun Acai ban
Leap sraeig UCL ony (WEY Jo USURNOLG Ay PUY peo|aE UO SUSI
[oerane] SyRUCAL ZT Deu Ol U) SAL Ue oeeyaind on nok Qe ASSO MOH EEE
KL HT sa 31 eT MT KL er 2030
ee Kt Hit BH a Ha Ea eat OY 4,9
si 4) co 3 S60) 3 31 KO 6a josey 3109 afitlas padeag
MOT It TT IL En T ef fi 4 att tert aT HOIEACO ¥ICC-AAS|B OTH
MI 02 Oe OT. eT 5 t z ar St Eat sey se
fie) eo eto 19 ea 9 ty 4 HED a5. ea wero Ry sa
5c OES: iS6E tetr S6LE fen Tage FEEL
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ay wooya on ves 3501 psa) ae / Aetii UN
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ee KE SE NE KE ¥E HE sn az HE ME ee HE HE er
tue see ae ab KE BE 362 ca ME. tz ie te 50 oa Aiea LLL
5 56 m5 ot dee va 3a ile 65 Seo ae fis Ma El ate
[rag SO ET soz | wez wae MOT siet | eet seat 987 tt 2 eat 22]
eT ett ET Sixt | Met. MeL 3601 eT PeEe HET ET Eras BIT EL at
SES. 85 ee io sce [wer SHES MES 65 [tas can A) ale 05, 3505 ait
5. cn HE ate ee HE aE. Eu a ca os it ie Sate ate ABT
56 Ea set wt HL KL 361 Mz oe feet 56 at aE ate 4 a Ht JKT
aust, bet, Test, rest, ges [tect THRE vest [ener [tet S61 tee Sue [se SEEL
i /O)IUACH scop'orts foce'otrs = fagoraes our fgg feces [ecsy fesse [Se ra P= hapemayurr fapesjay [obs e [ pea,
uF aL GAY Jul MORI paeuy S71 ev toa'ses fl bog'ses f OS0"SRS pun esis uote
qumMpyYS Snes (Eat uajeanpa sal aay AJER|WAEIB WUmUaSaapy FA] EoumunY PEO ByIUCL TT Fe] MEI PSM Satai|a atyysiocnuany alae UNO SUS
AYES] PLE aU SE TEED
EL AT. WET SIT ET BIL tt Eas tt wel [ie IT Het eet [set It
ile ie Sh ae ea Se ibe AE See le 365, MS ie 5 et at
6 fet bia eS bad 5 bec a a ‘sia HE Sit cd Bat, ta rt
HET SEL et wrt ET rl RET ‘HIT ET aT SEL IL ET sot [sat SIE
Ha Sat 880 Sav SLT Bre Te HEL eat HIE It 0 HT SHEL aT ive
vbr itr at He ae ee ate 60 Gt. Sb HS use soy tS ssa 360
JERE bose OS6r owe TERE Tere TEEt Spat ECDE bese LEE EEFE vere [suet weve Bea
cic awe frou oye soil steoorts |oog'otts coa'ses PS7/ Means papeopy-uon Faquay — finguony be iz i rol,
uy aus |eaR ow S377 [ea sma y3eq oiton'ses fos tén'aes Lan
Uap S615 SNE wonKonps aust AJEG|| bad 49) UCL UEy AE qoluuny peojay SyIMOL ZT 35) MSIL POSH SOR|2 A RBC UDR) TURE NNO SHES
HE. 60 fn he ht 5b we wae St ‘Mit He [see we | see Az at HE. 5 at. Hz
Ht ET HTT eT 3611 SET TL 30 ET Hl io ue met [wet HEL Era 86 eh sat SUL
ot Se gt wat Sbe. SSE sat abe set Oz sie [ae saz [sre sz wae. sot |e 360 Se pousc / supeanfa sce
69 Sato Heo a MES eo aT HES es tel me i TS. HE. wate [ees ses, Mes papemity
sree {nee ELE SbTE 108, Bini ses [eror | eset |sesz BSE roae tose | pest fii Bete
use Fee acjayzeg ayy Frc pantoay-ioy fasecoy feet fect [ter | fara Foquiaiy = [laze HE i I ree
jay WOU ON wou sary [29 5,10 42eT F Jamu feon
LUSBIINS Sms [SNE uogeanpy OAL es aH Ly Lek A dowry peojaY SyIOL TT INE] WSve PAST SaKs pp SEUOqIUD OTUCHL FAD SEE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

TLHISIN SUBOY Ieous ano Uo pau Alp 8] GED
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Ma MAT HT LT wat ott con aN at Mel SAL ET ees UY APG a WEL
Sabet HAE Hae REE BEC sat SE Hae HET mae Lite Aiea]
Tene THEE Toot, BIEL wert [erase Tree SEE eter seo
auc Powe faajuery fe eqyauang aug eroports = |ooo'orts SE a STASI fapeojay-uon, Jdapoajay it eae.
uy apes or ful uapiy poy paryy S557 2 Aber ou ton'ses qoo'sks popur [yf Aui UeR
2M pHYS BS [OL wayeanpy auc ASEH ILD (uo uua aaa Lowy PLoS a
apdo gas [orb
Bate sc Sea atte HG see | par Ste 3607 S605, Sebe [scee 5 BSE Ann ob werd 46 wand 346s)
eA Sev ST eT 4ST set [vat ET ST ‘aT Cy Ed HET oT. “sua cp awa Le Ang 6 Leta
GE 5E sete SHE wok 405 SiR Bee NEY Hae S085 sob nt feo usta Apa
SEot Tray ta sae sabe seer [roe bez SHE EEZE. SOT | test ftir Beta
auc au Pane acjaypes aay rene [ae ha P| ue Paatoay-uoy frpeeiy Me lz a (EEL
uy supe on fay aus. wo ear 2 51a y3e wapun _|f um wor
ump Sms [SNE una AME IAL 1D auaEEAIO doukiny jes|oig UPD 52509
Guiloucy [eSp0,, Feb
Site te SOL Set 356 Ge. L385 MEd HEL 668 9 3665) ited sz IS Ang 3 18)e 10 tenes HOC)
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[wot wot or OT STL HE MIT SET. 601 MT OT a HEL SOT OT.
Tie ose, beat SURE Bare nose ESET Seg {BET FLT ogee HSOr SEE ttte Eg6T,
jauay aust an.uery — [pajueyy |S scrayaeg ayy HIOO'OTTS joao"orTs ron55 [esate [eke Par f Mean pasiany [=e
aj uaayyuron fui uapeu pos ue aH] be ssqjauaeg pau Tones
uSUp YD Tuas CY uoweInpa aurtruy aby ALIA 20 ue aver, (Cody peal SIUC ZL SE] US PAST SHU we Oyysrequiayy abucy uA 5,MSI A
wOysA ISIN UT
ta ts 1S. ses. 66 50 es oh wee [Mie Ss vibe. ae so sack sae ars [ees 8 fi sity [seas 0 6S Ang)9] ue{e 40. eno 3,Uo0)
S6TL att eT MIL MIL eC wel a 35. ‘fall CT ad seat | SET xB stt [sath wart [wt HEL 3400 mot [act HET SCT "ajoul Ep ova Uy Ang 6 ued
Hse YALE 0 Mee TP SE MoE BSE site [ute Ste site wee [ete so saa [ete Her [war SE Moy ses [sine HiT Hat rap Apamuir
SESE GEE IESE, poet not Set {Su ene Seve E6GT Soyt_ pemet__| sist BLE, pop [ese ae SHOE bate, scot | eter (620 OES
auay awuey ete aeg ay PILOTS jooSOTTS: poo'ses Hapun +59 bg.55 eG [FR SE E Ea Pay yf Aaa A eer fezezt | ftt.e [see bonwayy = equa [ee ie t fiesan
ay weuayoon | sadpiL ue 507 pe sso.ayaea jarco‘ers fea too'oes fa coo'sts E.. Acai) Won essa fusn
eu UGE mos aly ASDA 20 URRY Lrg av SOW TT SE] USN ASN SoU A dyysequiayy auc UMD 5,451
paeeddhy jeans 3240
Sez ee HEE wae Mbe wer its Hest ge. ae 6E_ |asTe TE, wer [whe Wet oz act HET HEE ST Ang 2 aEYE 20 ve uC)
MSL EL BT HT 39. oT DT 5 HHL WaT wet [wet a wre [wat se Set set [sic Sent OT ‘sy Er wa Uy Ang oy Ue
SAS. B55 Si a BS MES be. oe x95 Mies si [OS KI Hes [was zo Zo sett [08 Hie et bene tia
sue base Hoes EREY (957. mE BeeT Beet beet tozt vty S657, gist [éeet dager BSE, fore iocz | rere GEE, T9095
jaueay jauoy o.uery pope fs yey yh, PIOOTTS jogos Ts: poo's5 apure +50 bon85 theng = SE 1 “31 | AEH paquiaiy — |#e Ie ie evan
ay wow apy erga sea po ssoMuaen jaiteo’ses [ov too'ses ff OSs pour | Acuity Gon
LoSuB YY EES EEN oyeInpS Evrce) GSH SUD AAT djysaqurayy auey Uo SUS
eR OPEL ITED
ae Stat Sit #8. Ha Se ae ae xo ea A ma 8 2S f Se kc eat aL Ana G1 Wed Jo Lio Suey
es Mer KET HET 366 IT a KEL MEL wat [set SOT Sab eT St Hat StL el SI CT ea Uy Arg a2 wee
iE ER oe LB HEE 08 os BIE HES Hae BE Shit he Re a SR SR HEE IE we ALL]
{ga £tst ori GOST, Eezy, ter TAIT ABET esut_ [ager [sese Sune STZE, gee. seer east BSE £500
AanLaeg, ashy eCap'oLts | |ooo'otrs CO'SES ait ag rags fie | fresE ge Fa HIT Mea joaemaysaony [lopesyns fee paca, ee e i =o
eng sea) FAA ed oases Tos'sbs each sys papun  [f Auten yen
auapeyS senigag (east vayeanpy aucauy oahy eae Ie WAWASAgUy AA] sOumEy PEO sys ZT aey SIN Perse Stata Af AACE aTLEY Uno S HSA
ups ogiy ateb
Sete ck ite Bate Mer Suk 10S. yay [och Et Set mis [nae Sale Jute SE HCE | GE se te SE [atte ses or ANG oF unjd 10 Web 3,UDq)
Et be te te, 3tz wae at wet [ore ez sat met [site BEE sex MET sett [sae Mer sae soe |s5e Bez HET ‘eke ET ANN WAN 0 Uh
HEE. EE HAE aE ave SOE Neat wit [our ST aE atc [sate HEE Sve Sev ce ate ee Tive wale |Site sere. Her larva Appar
Tes [aces Orne aes: PERT ttt [ease Ogez TEE vee seat Eoee agoe  [azzt IEEE BLED
pawer — fpawery — anjayzes poyiry poesh [ebse [Se han Hs] fAansien Poneoma-voy pomecoy — feez [ete [eTar fas poqwiayy = fiocoy, fee le t Teo,
i uot ear FAD papan | duran won asap e Peon
Sng [SINE open ayes thy ASHI EAL 10 AOU A douuny Poop SyIUOUW TT SE] NSW PAST SOM epysioq uss) BTUE Minho 6 EIA
JapuL Slueg prep
STE. a HCE wae. vate, aCe et ce |e Oz ACE Ker | KEE sabe. or [sre are bE wat [st sity. HIE Ang of uryd 4p use 3,uDd
AT at MET LT 358T aT BL Tet att HET ert woe [957 MST eng | wat set Set Sat eat NT MBL Suna FL Ikou be Ang m1 Uta
C5 z HES sa et) KES Serb wee ose 5S soo [sec 1 SS sag Les 30 ses. usa Aun
i i0e7 bose, SUE dest, 1995, Tibt, ser [eres tent, TERE FREE, wea [ste BHT, SUEE rete [eet ESEE ssa
Pets ubyacd ogy ras Passe FRAKES ‘a VSm1 PMR POpOOPY-UON |eAeo ay fre [eEEL [ETH fay aqui, [AEM LE ec IT FOL
ey au wey 7 be 5.10 9yar japan | Aura wou a rau E PuoH
dump Shs [EEA women aly AMA||AL 1 LULL] A qouuy peop SyOU ET Ary MSI SM SN A eS OC UDA) OTL MRE SSA A

 

 

 

 

 

 

 

 

 

 

 

 

 

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IT 56: ET Hot, SI ene fyqueesar
LEE BSE [over ESSE, pase TEE
mien) ;sonayey ayy fC PMLA Lapeopy-uop
4) UP Py? ON ue Sy Hos sayaoy fea UoN
uopenpy ANCA||| py 2O BURMA OY Lag AT SYWUOW ET ISE] USiG POSE SE UPA S,Y5IN fi
22a ese TO
EL fast Sa See, oo feae sata [wee Ang a]. ued 1 umn 3,ua0)
SEE | SDE Het ut eae St pee SSduls TEU I] ANE OL lf
5 BS Set cid SOL var aS at tivatd Apatieacter
Tet SESE Seae, Luge lore [ees sent [isst |
hepun Pa ‘aaa Japea|ay-Lan eet [tte sa)
es OSes ACcuiI Gon pe sae &
ASELIY Ji JaausaRO jug HE] SUUDUL TL ASE] HEAL PSN SIU
dowaddng punos Sty
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sea OT "aT wat HET 1s 5 SOT NIE BOT Ot Ot KG TT wat SUD ET aes Uy APG OG UIE
6S, aS. 65 20 HSS [see [ss5 Hae ea S65 0 i Bio | Ha Sear afi timo Aauanen
tage SISE ince Sset S0ET, for [ort 0ST BEET iia Ea DBRE gia tes 2 RSET
fuses Fao peE, atay boa'erts apn eso pass [esse [PRASE hat Pa een eaeney sien ezzt e it
er aupye py ful Loy jaowa ssar) 15 10) ea Toa'ses Peagotas haem gts ote
asap uayeanpa aurea aay Avra at 40 auauasaapuy AE] Sy ET aL HSI AT LS | a
yas wou drgaeg deb
ie See ‘yale ue oy wiv [ere uae Ek bee wee 0S say HES fo 1 bed so uma 360)
Sabet ge HEE HEE HE Le SEE Bee SerE whe Soe 35z sie Hbe “SUM EL WOU U) Ang aa wep
EE, SE EE SSE ae wet [ert ave [seer BEE sabe wae He m a5 Leo AquaLny)
2505 Sipe See CEET 5étr. ftp [zost SST Save, Ste raz GET EQue a56r
auc ACRE au roots peau fag P| rosy [rece hat ST, Pee bapecay-uer: Tee [ssi le It
us Uap ON wey 291 19-4 10/04 )308 Pe OID'SeS yf Auer done io tan =
uayoanpa auunouy aay Jey 20 WalAawapUy AE] sap TE asey MSH pase SANS UNDE HSIAL
Apeside say ob
ae HBL a 61. aT HE tT Sz. Htz__| Hoe siz Ang o1 Weld 4p Unie 21nc)
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ues uy saciaEER aausilsy ; ry Pa Ark p.macomy|-uopy etact | [tier [stay it
ei waup aie fu) ant sar 9 Stopes peacerses: Arann doe po sah £
as uopeanpa auucauy aay AMEGIIIvd 16 puRWaojug ey SYIUOLU TT -ISEy MSI POST SKUTA ub
ase) Huu yo ure
08 Ee aa HE 3BZ. SEE GE [ye sit SATE ‘ce. Koz, STE. woe Kor Ang a3 Ueje Jo amo ued |
8. eo OT 56 atl ett Ef ‘th Cra eT S07 366 St HOT “ayaa EE Rae Uy ANG OD Ltd
Kg ro mea MES. srs fra es [es ea Bae its 3629 ES “59 eae E aeno ipyuoite
ABLE ogee fir She set sugT fey [best 691, SBF Feet, S5ar i Tsuz.
aaa RY too IeS asyiliy panos TS eS a fats E he ray! Aa EteET TL
WI UHPEYON [et OUP Ue Sea 7 po sso yarg os tones ep if AICS WOR Ho: anu]
Lau uoReanay ay Aaa yr 0 UCU MET SyqUDW ETI] HSI ASN SUT Ue 5 SIN A
aor AuyLuED pacy WT"
sor HED a Hey st a MRE. neo ier 2 KEE | MIE sits [Sibir Ara] 61 ued 2 wing Luaa|
sot ‘Het HEL ST ist a He, OE 4ST St MGT | KET Nat | s96T TEU TT ou} ARE Ue
ete Het ee BLE say Se LY aE mts | NEF wee [ote ian Aquawing)
verte fied thet vate ziet EQUE pitt Tene soe patad
saceayseg —— Lally Inacrorts. yapurs bese fe ha 77 / MEA [apeaay-Lay EE
esa S07 bo sigiauaen Jarteo'ses fev too'ses fer ooo'ses 2360 4 Aeuiin ban
weaycarp a> ASE Ji uO AA] SugpUbRM CT 150] Say POs SOHAL AF
bamilen yass [Tet
MEE Sot ME BSE HAE Sere SOE abe Ary) 02 und 29 ie Luog
HOT HST Stet so aT | set BAT ST Tey TT RU UP ANE 2 uel
sets sere aS eae 595 6k eS HSE wear sua
[ease [esac eset ane ELSE weet Beet TETT PPT HELE Eee SLez
abet sacjayaen = fsoyN acoaTTs jopurs bre ja Lopeajae-wan it
Lie yy 587 bes,aiouaeg Jeu too'ses: OD Sts Astute abd
uopenpa mua su AGCyNWY 4p waWdaaFOpUg MT $YPUDU ET 50) HSA) pOsN SoWA wy Weer SUSI

 

 

PERO PUEH P3l|CY HT
13-cv-00291-WMS Document 23-5 Filed 04/15/13 Page 22 of 27

Case 1

 

 

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 
 

 

 

  

 

 

  

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

     

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

      

 

 

    

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    

 

 

 

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Case 1:13-cv-00291-WMS Document 23-5 Filed 04/15/13 Page 23 of 27

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

     

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

   

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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13-cv-00291-WMS Document 23-5 Filed 04/15/13 Page 24 of 27

Case 1

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

     

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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